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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 VEGA CAPITAL LONDON LIMITED and
 ADRIAN SPIRES,
                                                     Misc. Case No. 4:24-mc-1163
         Movants,
                                                     (Arising from Civil Case No. 1:20-cv-04577
 v.                                                  in the United States District Court for the
                                                     Northern District of Illinois)
 EXXONMOBIL OIL CORPORATION,

         Respondent.


                                      PROPOSED ORDER

        After carefully considering Vega Capital London Limited and Adrian Spires' Motion to

Compel the Production of Documents, and any responses or replies thereto, the Court hereby

GRANTS the motion and ORDERS that ExxonMobil Oil Corporation produce:

        (i)     documents sufficient to show ExxonMobil's understanding of storage at Cushing
                for the May WTI contract as of April 20, 2020;

        (ii)    documents sufficient to show whether and when ExxonMobil thought the price for
                the May WTI contract would go negative;

        (iii)   documents sufficient to show ExxonMobil's communications with CME, the New
                York Mercantile Exchange, or the Intercontinental Exchange about the May 2020
                WTI contract, limited to notices received from those entities, its responses to those
                entities, and correspondence with those entities about the April 20, 2020 and April
                21, 2020 trading in the May 2020 WTI contract; and

        (iv)    documents sufficient to show the extent to which ExxonMobil agreed to accept
                physical delivery of oil pursuant to the May WTI Contract.

        It is so ORDERED.



________________________                              ______________________________
Date                                                  United States District Judge
